       Case 1:02-cr-00022-MP         Document 501        Filed 06/01/07     Page 1 of 1


                                                                                         Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                                CASE NO. 1:02-cr-00022-MP

CHAD MICHELL HORNADAY,

      Defendant.
___________________________/

                                          ORDER

       This matter came before the Court on a petition from the probation office indicating that

Mr. Hornaday had violated the conditions of his supervised release by being arrested for driving

under the influence and careless driving. The probation officer recommended that the conditions

of supervised release be modified to require Mr. Hornaday to be referred to a Residential Re-

entry Center for 180 days. Mr. Hornaday consents to the referral. Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       The conditions of supervised release from Mr. Hornaday are modified to require Mr.
       Hornaday to reside in a Residential Reentry Center for 180 days, to commence as soon as
       space in such a center is available. All other terms and condition of supervised release
       remain in full force and effect.

       DONE AND ORDERED this 1st day of June, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
